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                      UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

United States of America

     v.                                    Case No. 3:10-cr-28

Herbert E. Myles

           ORDER AND JUDGMENT REVOKING SUPERVISED RELEASE
                        AND IMPOSING SENTENCE

     The above defendant, having been sentenced in this court on
August 16, 2010, for a violation of Title 18, United States Code,
Section 922(g)(1), at which time the defendant was committed to the
custody of the United States Bureau of Prisons to be imprisoned for
a term of fifty months, to be followed by a three-year term of
supervised release; and a petition for the revocation of the
supervised release of the defendant having been filed in this court
on August 5, 2015, to require defendant to show cause why said
supervised release should not be revoked:

     NOW, the defendant being present in court on December 2, 2016,
with counsel, at the hearing on this matter and showing no cause
why the supervised release previously imposed herein should not be
revoked, and the court being fully advised in the premises, finds
that the defendant has violated the conditions of supervised
release.

     IT IS THEREFORE ORDERED AND ADJUDGED that the order placing
the defendant on supervised release is hereby revoked.

     IT IS FURTHER ORDERED that the defendant is sentenced to a
term of incarceration of eleven months, to run concurrently with
the term of incarceration imposed in Case No. 2:13-cr-215.

     IT IS FURTHER ORDERED that no new term of supervised release
is imposed, and defendant is hereby terminated from supervised
release.

     IT IS FURTHER ORDERED that a certified copy hereof shall serve
as a commitment herein.


Date: December 5, 2016                    s/James L. Graham
                                  James L. Graham
                                  United States District Judge
